Case 2:05-md-01657-EEF-DEK

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GLORIA HERN ANDEZ,

Plaintiff,

MERCK & CO., INC., et al,

Defendants.

IN THE UNITED STATES
DISTRICT COURT FOR THE
EASTERN DISTRICT OF
LOUISIANA

Case Code No: 1657
Docket No: 2:05-cv-01259-EEF-DEK

STIPULATION OF DISMISSAL
WITH PREJUDICE
AS TO ALL DEFENDANTS

Pursuant to Fed. R. Civ. P. 41, the undersigned counsel hereby stipulate that

all claims of plaintiff Gloria Hernandez against defendant Merck & Co., Inc. and all other

named defendants be dismissed in their entirety with prejudice, each party to bear its own

costs.

Maria D. Tejedor, Esq.
Martj :
Tejedor

540 N. Semoran Blvd.
Orlando, FL 32807
407-381-4123

FBN: 0095834

Dated: il LI | 0%
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guelles &

| Stephen G. Strauss

Bryan Cave LLP

211 N. Broadway, Suite 3600
St. Louis, MO 63102

(314) 259-2000 Tel

(314) 259-2020 Fax

Phillip A. Wittmann
Dorothy H. Wimberly
‘Stone Pigman Walther

| Wittmann LLC

546 Carondelet Street
New Orleans, LA 70130
(504) 581-3200 Tel
(504) 581-3361 Fax

| Attorneys for Merck & Co., Inc..

Dated: D-2Xk -{O_
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CERTIFICATE OF SERVICE

Thereby certify that the above and foregoing Stipulation of Dismissal With
Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip
Wittmann, by US. Mail and e-mail or by hand delivery and e-mail and‘upon all patties by
electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-
Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF system
which will send a Notice of Electronic Filing in accord with the procedures established in MDL

1657, on this 10th day of November, 2010.

/s/ Stephen G. Strauss
Stephen G. Strauss
BRYAN CAVE LLP

_ 211 North Broadway, Suite 3600
St. Louis, Missouri 63102
Phone: 314-259-2000
Fax: 314-259-2020
sgstrauss@bryancave.com

Attorneys for Defendant
Merck & Co., Inc.

